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IN THE UNITED sTATEs DISTRICT coURT F"~EB iii ja *3-“3»
FoR THE WEsTERN DISTRICT oF TENNESSEE

wEsTERN DIVIsIoN 35*“11’1`1’2'5 PP-i 2= 31

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MICHELLE R. MILLNER. vii-11 <1~ ~ eis

Plaintiff,
vs. Civll Action No. 03-cv-2595-Ma

E.I. DuPONT DeNEMOURS, INC.,

Defendant.

 

ORDER

 

Thjs matter having come before the Court, upon consent motion of the
parties, by and through their counsel, for a thirty-day extension of the Expert
Disclosure Deadlines and the Court finds that said motion is Well-taken and
should be granted

IT IS, THEREFORE, ORDERED that the Consent Motion to Extend the
Expert Disclosure Deadlines by thirty days, i.e., up to and including June 15,
2005 for the Plaintiff and July 15, 2005 for the Defendant, is granted.

om)ERED this the c?!"'-'= day of May, 2005.

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U.s. messer Judge

 

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with Hu!s 58 and/or 79(3) FRCP on 5 "

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
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J. Michael BroWn

WYATT TARRANT & COl\/[BS, LLP
500 W. Jefferson St.

Louisville, KY 40402

Stephen D. Waketield

WYATT TARRANT & COl\/[BS
P.O. Box 775000

Memphis7 TN 38177--500

Kim Koratsky

WYATT TARRANT & COl\/[BS
P.O. Box 775000

Memphis7 TN 38177--500

Kathleen L. Caldwell

LAW OFFICE OF KATHLEEN L. CALDWELL
2080 Peabody Ave.

Memphis7 TN 38104

Glenwood Paris Roane

LAW OFFICE OF GLENWOOD P. ROANE, SR.
217 EXchange Ave.

Memphis7 TN 38105--350

Honorable Samuel Mays
US DISTRICT COURT

